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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 PERKINS COIE LLP,

                         Plaintiff,
                                                               Civil Action No. 25-716 (BAH)
                         v.
                                                               Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                         Defendants.

                                                    ORDER

        Upon consideration of the parties’ Joint Status Report (“JSR”), ECF No. 25, it is hereby:

        ORDERED that the injunction, ECF No. 21, issued by this Court on March 12, 2025, and all

restrictions and obligations imposed therein, shall be EXTENDED by agreement of all parties, see JSR ¶

5, until final judgment is entered in this matter; it is further

        ORDERED, in accordance with the parties’ joint proposal for expedited dispositive motions

briefing, reached after their meeting and conferral, that the parties shall file all dispositive motions

according to the following schedule:

        (1) By April 2, 2025, the parties shall file any dispositive motions and opening briefs in support;

        (2) By April 16, 2025, at noon, the parties shall file any oppositions;

        (3) By April 18, 2025, at 4:00 PM, the parties shall file any replies; and

        (4) Any motions hearing, if necessary, will be scheduled for the week of April 21, 2025; and it is

            further

        ORDERED that discovery shall be STAYED pending further order of the Court, given the

parties’ agreement that no discovery is required or will be requested, see JSR ¶ 4.

        SO ORDERED.
        Date: March 14, 2025
                                                         __________________________
                                                         BERYL A. HOWELL
                                                         United States District Judge
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